     Case 4:20-cr-00123-WTM-CLR Document 1 Filed 11/05/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION

UNITED STATES OF AMERICA                  ) INDICTMENT NO. CR420 123
                                          )
             V.                           ) 18 U.S.C.§ 2261A(2)
                                          ) Cyberstalking
BRANNON JEFFRIES                          )                                  p


THE GRAND JURY CHARGES THAT:
                                   COUNT ONE
                                  Cyberstalking
                               18 U.S.C.§ 2261A(2)

      Beginning at least on or about August 2020 and continuing through the return
date of this indictment, the exact date being unknown,the defendant,

                             BRANNON JEFFRIES

with the intent to harass and intimidate Victim 1, a person in Chatham County,
within the Southern District of Georgia, used the mail,interactive computer services
and electronic communication systems ofinterstate commerce, and other facilities of
interstate or foreign commerce,including the United States Postal Service,electronic
mail, on-line chat and instant messenger applications, social media accounts, and
internet websites, to engage in a course of conduct that caused, attempted to cause,
and would be reasonably expected to cause substantial emotional distress to Victim
1.



       All in violation of Title 18, United States Code, Section 2261A(2).

                           Signatures on the following page
       Case 4:20-cr-00123-WTM-CLR Document 1 Filed 11/05/20 Page 2 of 2




                                         A True Bill.




     Larl Knoche                                        ington, II
    Assistant United States Attorney                      States Attorney
    Chief, Criminal Division           *Lead




                                       Marcela Mateo
                                       Assistant United States Attorney
                                       *Co-lead Counsel




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